
ON REMAND FROM THE LOUISIANA SUPREME COURT.
Before DOMENGEAUX,. C.J., and COREIL* and SALOOM*, JJ. Pro Tem.
JOSEPH E. COREIL, Judge Pro Tem.
For the reasons assigned in the companion case of Randy Matthews v. City of Alexandria, 602 So.2d 731 (La.App. 3 Cir.1992) (docket # 90-345 of this Court), the judgment of the trial court is affirmed in part and reversed in part.
Costs of appeal and at the trial level are assessed to Randy Matthews and James Nugent, and costs of the remand proceedings are assessed to the City of Alexandria.
AFFIRMED IN PART, REVERSED IN PART AND RENDERED.
